FlLED El\ __ M___ D.C.

Case 2:04-cV-0214O-.]DB-tmp Document 21 Filed 06/23/05 Page 1 of 2 P/e\jcj[c\eyb' 31

IN THE UNITED sTATEs DISTRICT CoURT FoR GSIFMN 23 AH IU= 3 !
wEsTERN DISTRICT oF TENNESSEE

 

n “ ;~“ er

wEsTER~vaSION teresa

) W,D. OF- TN, MEMFHIS
CECIL JOHNSON, JR. )
)
Plaintiff, )

) Civ.No.: 04-2140-B/P

vs. )
)
CADILLAC OF MEMPHIS, et. Al )
)
)

 

ORDER ALLOWING COUNSEL TO WITHDRAW

 

THIS CAUSE came to be heard on the § ,1_, of_:S`LL, 2005. After
due notice to Plaintiff, Cecil Johnson, Jr., and upon the application of Darrell J. O’Neal to
Withdraw from representation of Plaintiff, Cecil Johnson, Jr., in the above cause. The
Court upon consideration cf said motion, statement of counsel, and the entire record
before it, is of the opinion that the motion is well taken.

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED by the Court
that Darrell J. O’Neal, be and he is hereby discharged from further responsibility for the

representation of Plaintiff, Cecil Johnson, Jr. in the above cause.

M

JUDGE

 

DATE; Tm.a 9_1. DQ‘LI"

 
 
 

n the dockets

 

tered c
Th¥s document en
with R`u\e 58 andlor 79(a) FRGP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02140 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

William E. Norcross
NORCROSS LAW FIRM
890 WilloW Tree Circle
Ste. 8

Cordova, TN 38018

Cecil Johnson

91 North Belvedere
Apt. # 15

l\/lemphis7 TN 3 8104

Darrell J. O'Neal

LAW OFFICE OF DARRELL J. O'NEAL
2129 Winchester

l\/lemphis7 TN 38116

Honorable J. Breen
US DISTRICT COURT

